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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


   JARED NALLY and
   THE INDIAN LEADER ASSOCIATION,

                           Plaintiff,
                                                             No. 21-2113-JAR-TJJ
   v.

   RONALD J. GRAHAM, in his individual and
   official capacity as President of Haskell Indian
   Nations University,

   HASKELL INDIAN NATIONS UNIVERSITY,

   TONY L. DEARMAN, in his official capacity as
   Director of the Bureau of Indian Education, and

  BUREAU OF INDIAN EDUCATION,

                           Defendants.

       JOINT MOTION FOR EXTENSION OF TIME FOR THE FEDERAL
  DEFENDANTS TO FILE THE ADMINISTRATIVE RECORD AND DEFENDANT
  GRAHAM’S REPLY IN SUPPORT OF HIS MOTION TO DISMISS (DOC. 19) AND
     FOR PLAINTIFFS TO REPLY IN SUPPORT OF THEIR MOTION FOR A
             PRELIMINARY INJUNCTION MOTION (DOC. 12)

        The parties respectfully move the Court for an order extending the time to file the

Administrative Record, Defendant Graham’s reply in support of his Motion to Dismiss (Doc.

19), and the Plaintiffs’ reply in support of the Plaintiffs’ Motion for a Preliminary Injunction

(Doc. 12). In support of its motion, the parties state as follows:

        1. Based upon a Clerk’s Fourteen Day Extension (Doc. 10), the Federal Defendants’

           Answer or other Responsive Pleading was originally due on June 1, 2021.




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2. The Federal Defendants sought an unopposed 30-day extension within which to file

   the administrative record. The Court granted this request (Doc. 17) and set at July 1,

   2021 deadline for filing of the administrative record.

3. During this time, the Federal Defendants have diligently worked to compile, review

   and produce the record in this case.

4. Documents within the possession of both the Department of the Interior (DOI) and

   HINU were gathered from numerous custodians and found on varying storage

   systems.

5. In order to properly review the documents, the United States Attorneys’ Office for the

   District of Kansas coordinated with DOJ’s Litigation Technology Service Center

   (LTSC) in Columbia, South Carolina to upload the potentially responsive documents

   into a Relativity database. Due to the press of other litigation throughout the DOJ,

   this process took three weeks. Time was also spent performing background checks

   on agency personnel assigned to assist in the review, a requirement of the DOJ before

   being able to access the Relativity system. Once available for review, the DOI

   assigned two supervisory attorneys, four line attorneys and one paralegal to review

   more than 3,000 documents for relevance and privilege. The DOJ has also allocated

   one supervisory attorney, two line attorneys and one paralegal to also review the

   documents. Review is still ongoing.

6. Once review of the documents is complete, the DOJ LTSC requires seven to ten days

   to process and output the administrative record.

7. Based upon the current projected timeline to finish agency and DOJ review of the

   documents, along with the time to process and output the data, the DOJ believes it



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           can file the administrative record by Monday, July 19, 2021. Should the project be

           completed sooner, the DOJ will file the administrative record beforehand.

       8. During the conferral process, the parties mutually agreed that Plaintiffs should be

           afforded 30 days within which to review the administrative record before filing a

           reply in support of their motion for a preliminary injunction (Doc. 12).

       9. The parties have also agreed to a 7-day extension of time for Defendant Graham, in

           his personal capacity, to file a reply in support of his pending Motion to Dismiss

           (Doc. 19).

       10. The parties understand that this will necessitate rescheduling the oral argument on

           Plaintiffs’ motion for preliminary injunction — currently set for July 22, 2021 — and

           counsel are available to discuss availability with the Court. The argument currently

           scheduled for July 22 can go forward regarding Defendant Graham’s motion to

           dismiss.

       WHEREFORE, the parties seek an order from the Court extending the time to (1) file the

Administrative Record until July 19, 2021; (2) for the Plaintiffs to file a reply in support of their

motion for preliminary injunction (Doc. 12) until 30 days after the Administrative Record is

filed; and (3) to the extend the time for Defendant Graham to file his reply in support of his

motion dismiss Plaintiffs’ First Amendment Bivens claims (Doc. 19) to July 13, 2021.

                                                       Respectfully submitted,

                                                       DUSTON J. SLINKARD




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2021, the foregoing was electronically filed with the clerk
of the court by using the CM/ECF system which will send a notice of filing to all CM/CMECF
participants for this case.

                                                      s/ Christopher Allman
                                                      CHRISTOPHER ALLMAN
                                                      Assistant United States Attorney




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